     Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 1 of 11 Page ID #:1




 1 THE LAW OFFICES OF KENNER & GREENFIELD
   David E. Kenner (SBN 41425)
 2 16633 Ventura Blvd., Suite 1212
   Encino, CA 91436
 3 Telephone: (818) 995-1195
   Facsimile: (818) 475-5369
 4
   Attorneys for Plaintiff
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 6
 7                       UNITED STATES DISTRICT COURT
 8         CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
 9
10 JOSEFINA PEREZ CORTEZ,                       Case No.: 2:23-cv-57
   individually and as successor-in-interest
11 to Daniel Alfonso Perez-Communidad,          COMPLAINT FOR DAMAGES
12                     Plaintiff,                    1. Fourth Amendment – Excessive
                                                        Force (42 U.S.C. § 1983)
13         vs.                                       2. Fourteenth Amendment –
                                                        Substantive Due Process (42 U.S.C.
14 COUNTY OF RIVERSIDE;                                 § 1983)
   DOES 1-10, identities unknown;                    3. Municipal Liability (42 U.S.C. §
15 and FIDEL COMMUNIDAD                                 1983)
   HERNANDEZ, a nominal defendant and                4. Battery (Wrongful Death and
16 possible successor-in-interest to Daniel             Survival Action)
   Alfonso Perez-Communidad,                         5. Negligence (Wrongful Death and
17                                                      Survival Action)
                      Defendants                     6. Violation of Bane Act (Cal. Civil
18                                                      Code § 52.1)
19                                              DEMAND FOR JURY TRIAL
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                                               -1-                         Case No. 2:23-cv-57
                                                                     COMPLAINT FOR DAMAGES
     Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 2 of 11 Page ID #:2




 1                             COMPLAINT FOR DAMAGES
 2         Plaintiff JOSEFINA PEREZ CORTEZ, individually and as successor-in-
 3 interest to Daniel Alfonso Perez-Communidad, for her complaint against the
 4 COUNTY OF RIVERSIDE; DOES 1-10, identities unknown; and FIDEL
 5 COMMUNIDAD HERNANDEZ, a nominal defendant and possible successor-in-
 6 interest to Daniel Alfonso Perez-Communidad, alleges as follows:
 7
 8                                    INTRODUCTION
 9            1.      This wrongful death civil rights and state law action against the
10 County of Riverside and deputies involved in the death of Daniel Alfonso Perez-
11 Communidad. This suit is being brought by his mother Josefina Perez Cortez.
12            2.      Daniel Alfonso Perez-Communidad, 19, was shot and killed a
13 Riverside county sheriff’s deputy on January 28, 2022. There exists video evidence
14 of the shooting.
15            3.      His mother alleges that the death of her son was unnecessary and
16 unwarranted, and that use of deadly force was excessive and unreasonable under the
17 circumstances.
18                                         PARTIES
19            4.      At all relevant times, Daniel Alfonso Perez-Communidad (the
20 “Decedent”) resided in the County of Riverside in the State of California. The
21 circumstances and events giving rise to this action occurred in the County of
22 Riverside.
23            5.      Josefina Perez Cortez is the mother of the decedent, who had no
24 children of his own, and a successor in interest pursuant to Cal.Code.Civ.P. §
25 377.32.
26            6.      At all relevant times, Defendants Does 1-10 were agents or
27 employees of the County of Riverside or the County of Riverside Sheriff’s
28 Department. At all relevant times, they were acting under color of law within the

                                                -2-                        Case No. 2:23-cv-57
                                                                     COMPLAINT FOR DAMAGES
     Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 3 of 11 Page ID #:3




 1 course and scope of their duties with respect to their employer. Alternatively, to the
 2 extent that the County of Riverside did not directly employ Does 1-10, those
 3 defendants were acting as agents of the County of Riverside at all relevant times and
 4 subject the direction and control of the County of Riverside. These defendants are
 5 sued to the extent they engaged in, integrally participated in, or failed to intervene in
 6 the conduct of which Plaintiff complains, and/or by engaging in other acts or
 7 omissions described below.
 8            7.     Defendant County of Riverside is responsible for Plaintiff’s injuries
 9 by virtue of statutory indemnity and vicarious liability as well as by virtue of direct
10 liability under the principles of Monell v. Department of Social Services, 436 U.S.
11 658 (1978). At all relevant times, Defendant County of Riverside was a duly
12 organized public entity, existing under the laws of the State of California. Defendant
13 County of Riverside is a chartered subdivision of the State of California with the
14 capacity to sue and be sued.
15            8.     Upon information and belief, in doing the acts and failing and
16 omitting to act as hereinafter described, Defendants Does 1-10 were acting on the
17 implied and actual permission and consent of the County of Riverside.
18            9.     The true names of Defendants Does 1-10 are unknown to Plaintiff,
19 who therefore sues these defendants by fictitious names. In particular, the name of
20 the deputy who shot the Decedent has not been released. Plaintiff will seek leave to
21 amend this complaint to show the true names and capacities of these defendants
22 when they have been ascertained. Each of the fictitiously-named defendants is
23 responsible in some manner for the conduct and liabilities alleged herein.
24            10.    Defendants Does 1-10 are directly liable for Plaintiff’s injuries
25 under state and federal law and are sued in their individual capacities for damages
26 only.
27            11.    Fidel Communidad Hernandez, the father of the decedent, is named
28 herein as a nominal defendant until his interest in this lawsuit, if any, can be

                                               -3-                         Case No. 2:23-cv-57
                                                                     COMPLAINT FOR DAMAGES
     Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 4 of 11 Page ID #:4




 1 ascertained. His current whereabouts are unknown, and it is unknown whether he
 2 has preserved any claims he may have under state law by filing a timely government
 3 claim. Depending on his response to this action, Plaintiff expects that as to each
 4 claim for relief herein, he will be either realigned as a plaintiff or he will be
 5 dismissed with prejudice as a party to that claim for relief.
 6
 7                             JURISDICTION AND VENUE
 8            12.    This civil action is brought for the redress of alleged deprivations of
 9 constitutional rights as protected by 42 U.S.C. §§ 1983, 1988, and the Fourth and
10 Fourteenth Amendments of the United States Constitution. Jurisdiction is founded
11 on 28 U.S.C. §§ 1331, 1343, and 1367.
12            13.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because all
13 incidents, events, and occurrences giving rise to this action occurred in the County
14 of Riverside, California.
15
16                  FACTS COMMON TO ALL CLAIMS FOR RELIEF
17            14.    The foregoing allegations are incorporated as if re-alleged herein.
18            15.    Daniel Alfonso Perez-Communidad, 19, was shot and killed by one
19 or more Riverside County Sheriff’s Department employees on January 28, 2022.
20 There exists video evidence of the shooting.
21            16.    His mother alleges that the use of deadly force was excessive and
22 unreasonable under the circumstances.
23            17.    Plaintiff timely presented a claim to the County of Riverside
24 pursuant to Government Code Section 945.6 on June 30, 2022, which the County of
25 Riverside rejected on July 7, 2022. Pursuant to that government code section, this
26 complaint is timely filed within six months of the rejection of that claim.
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                                                -4-                         Case No. 2:23-cv-57
                                                                      COMPLAINT FOR DAMAGES
     Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 5 of 11 Page ID #:5




 1                              FIRST CLAIM FOR RELIEF
 2                  Fourth Amendment – Excessive or Unreasonable Force
 3                                     (42 U.S.C. § 1983)
 4                                    (Against Does 1-10)
 5            18.     The foregoing allegations are incorporated as if re-alleged herein.
 6            19.     Does 1-10 used excessive or unreasonable force against Decedent.
 7 This conduct deprived Decedent of his right to be secure in his person against
 8 unreasonable searches and seizures as guaranteed under the Fourth Amendment and
 9 applied to state actors by the Fourteenth Amendment.
10            20.     As a result of the excessive or unreasonable force, Decedent lost his
11 life. From the time the force was used up until the time of his death, he experienced
12 physical pain and emotional distress.
13            21.     The conduct of Does 1-10 was willful, wanton, malicious, and done
14 with reckless disregard for the rights and safety of Decedent, and therefore warrants
15 the imposition of punitive damages.
16            22.     Does 1-10 are liable for Decedent’s injuries and death, either
17 because they engaged in the above conduct, because they were integral participants
18 in the above conduct, or because they failed to intervene to prevent the above
19 conduct.
20            23.     Plaintiff brings this claim in her individual and representative
21 capacities and seeks both survival and wrongful death damages. Plaintiff also seeks
22 attorney fees.
23
24                            SECOND CLAIM FOR RELIEF
25                   Fourteenth Amendment – Substantive Due Process
26                                     (42 U.S.C. § 1983)
27                                    (Against Does 1-10)
28            24.     The foregoing allegations are incorporated as if re-alleged herein.

                                                -5-                         Case No. 2:23-cv-57
                                                                      COMPLAINT FOR DAMAGES
     Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 6 of 11 Page ID #:6




 1            25.   Plaintiff had a cognizable interest under the Due Process Clause of
 2 the Fourteenth Amendment of the United States Constitution to be free from state
 3 actions that would deprive her of life, liberty, or property in such a manner as to
 4 shock the conscience, including state actions that interfere with her familial
 5 relationship with her loved one and family member, the Decedent.
 6            26.   The Decedent also had a cognizable interest under the Due Process
 7 Clause of the Fourteenth Amendment of the United States Constitution to be free
 8 from state actions that deprive him of life, liberty, or property in such a manner as to
 9 shock the conscience.
10            27.   The aforementioned actions of Does 1-10, along with undiscovered
11 conduct, shock the conscience, in that each of Does 1-10 acted with deliberate
12 indifference to the constitutional rights of Decedent and Plaintiff or with purpose to
13 harm unrelated to any legitimate law enforcement objective.
14            28.   As a result of the conduct of Does 1-10, Decedent lost his life and
15 Plaintiff was harmed.
16            29.   The conduct of Does 1-10 was willful, wanton, malicious, and done
17 with reckless disregard for the rights and safety of Decedent, and therefore warrants
18 the imposition of punitive damages.
19            30.   Plaintiff brings this claim in her individual and representative
20 capacities and seeks both survival and wrongful death damages. Plaintiff also seeks
21 attorney fees.
22
23                            THIRD CLAIM FOR RELIEF
24                           Municipal Liability – Ratification
25                                    (42 U.S.C. § 1983)
26                         (Against Defendant County of Riverside)
27            31.   The foregoing allegations are incorporated as if re-alleged herein.
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                                              -6-                         Case No. 2:23-cv-57
                                                                    COMPLAINT FOR DAMAGES
     Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 7 of 11 Page ID #:7




 1            32.   The acts of Does 1-10, under color of law, deprived the decedent
 2 and Plaintiff of their particular rights under the United States Constitution, as
 3 alleged above.
 4            33.   Upon information and belief, the County of Riverside has
 5 determined that the conduct of Does 1-10 was within policy. Plaintiff contends that
 6 this fact is prima facie evidence of an unconstitutional policy. To Plaintiff’s
 7 knowledge, none of Does 1-10 have been disciplined, reprimanded, retrained,
 8 suspended, or otherwise penalized in connection with the incident. Upon
 9 information and belief, a final policymaker for the County of Riverside has ratified
10 the conduct of Does 1-10 and the bases for it.
11            34.   Based on the above, Plaintiffs contend that the County of Riverside
12 is directly liable under 42 U.S.C. § 1983 and Monell v. Dep’t of Soc. Servs. of N.Y.,
13 436 U.S. 658, 691 (1978).
14            35.   Plaintiff seeks both survival and wrongful death damages,
15 compensatory damages, and attorney fees under this claim. She brings this claim
16 both individually and as the decedent’s successor in interest.
17
18                           FOURTH CLAIM FOR RELIEF
19            Battery (Cal. Govt. Code § 820 and California Common Law)
20                                    (Wrongful Death)
21                                 (Against All Defendants)
22            36.   The foregoing allegations are incorporated as if re-alleged herein.
23            37.   The acts of Does 1-10 constituted battery by a peace officer under
24 California law and were a substantial cause of the decedent’s death. As a
25 consequence, Plaintiff has been deprived of the life-long love, companionship,
26 comfort, support, society, care and sustenance of decedent, and will continue to be
27 so deprived for the remainder of her natural life. Plaintiff also claims funeral and
28 burial expenses and a loss of financial support.

                                               -7-                        Case No. 2:23-cv-57
                                                                    COMPLAINT FOR DAMAGES
     Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 8 of 11 Page ID #:8




 1            38.    The conduct of Does 1-10 was malicious, oppressive or in reckless
 2 disregard of Plaintiff’s rights, entitling Plaintiff to punitive damages.
 3            39.    Defendant County of Riverside is vicariously liable for the wrongful
 4 acts of Does 1-10 pursuant to section 8l5.2(a) of the California Government Code,
 5 which provides that a public entity is liable for the injuries caused by its employees
 6 within the scope of their employment if the employee's act would subject him or her
 7 to liability.
 8            40.    Plaintiff seeks compensatory damages and punitive damages under
 9 this claim.
10
11                             FIFTH CLAIM FOR RELIEF
12          Negligence (Cal. Govt. Code § 820 and California Common Law)
13                                     (Wrongful Death)
14                                 (Against All Defendants)
15            41.    The foregoing allegations are incorporated as if re-alleged herein.
16            42.    The acts of Does 1-10 constituted negligence under California law
17 and were a substantial cause of the decedent’s death. As a consequence, Plaintiff has
18 been deprived of the life-long love, companionship, comfort, support, society, care
19 and sustenance of decedent, and will continue to be so deprived for the remainder of
20 her natural life. Plaintiff also claims funeral and burial expenses and a loss of
21 financial support.
22            43.    The conduct of Does 1-10 was malicious, oppressive or in reckless
23 disregard of Plaintiff’s rights, entitling Plaintiff to punitive damages.
24            44.    Defendant County of Los Angeles is vicariously liable for the
25 wrongful acts of Does 1-10 pursuant to section 8l5.2(a) of the California
26 Government Code, which provides that a public entity is liable for the injuries
27 caused by its employees within the scope of their employment if the employee's act
28 would subject him or her to liability.

                                               -8-                         Case No. 2:23-cv-57
                                                                     COMPLAINT FOR DAMAGES
     Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 9 of 11 Page ID #:9




 1            45.    Plaintiff seeks compensatory damages and punitive damages under
 2 this claim.
 3
 4                             SIXTH CLAIM FOR RELIEF
 5               California Civil Code §52.1 – Bane Act (California Law)
 6                                 (Against All Defendants)
 7            46.    The foregoing allegations are incorporated as if re-alleged herein.
 8            47.    California Civil Code Section 52.1 (the Bane Act) prohibits any
 9 person from interfering with another person's exercise or enjoyment of his or her
10 constitutional rights by violence, threats, intimidation, or coercion.
11            48.    The acts of Does 1-10, as described above, interfered with the civil
12 rights of decedent, which are protected by both the California Constitution and the
13 United States Constitution, including without limitation decedent’s rights to freedom
14 from unreasonable or excessive force.
15            49.    Does 1-10 successfully interfered with the above civil rights of
16 Plaintiff in a manner constituting violence.
17            50.    The conduct of Does 1-10 was malicious, oppressive or in reckless
18 disregard of the Plaintiff’s rights, entitling Plaintiff to punitive damages.
19            51.    As a result of the conduct of the Does 1-10, Plaintiff was harmed.
20            52.    Defendant County of Riverside is vicariously liable for the wrongful
21 acts of the individual pursuant to section 815.2(a) of the California Government
22 Code, which provides that a public entity is liable for the injuries caused by its
23 employees within the scope of their employment if the employee’s act would subject
24 him or her to liability.
25            53.    Plaintiff seeks compensatory damages, punitive damages, and
26 attorney fees under this claim.
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                                               -9-                          Case No. 2:23-cv-57
                                                                     COMPLAINT FOR DAMAGES
  Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 10 of 11 Page ID #:10




 1                                   PRAYER FOR RELIEF
 2               WHEREFORE, Plaintiff prays for relief and requests entry of judgment in
 3 her favor and against all defendants as follows:
 4          A.      For compensatory damages, including both survival damages and
 5 wrongful death damages under federal and state law, in the amount to be proven at
 6 trial;
 7          B.      For loss of financial support;
 8          C.      Funeral and burial expenses;
 9          D.      For punitive damages against the individual defendants in an amount to
10 be proven at trial;
11          E.      For interest;
12          F.      For reasonable costs of this suit and attorneys’ fees, including pursuant
13 to 42 U.S.C. § 1988; and
14          G.      For such further other relief as the Court may deem just, proper, and
15 appropriate.
16
17 DATED: January 5, 2023
18
19                                          By               /s David E. Kenner
                                                 David E. Kenner
20                                               Attorneys for Plaintiff
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                                                  -10-                       Case No. 2:23-cv-57
                                                                       COMPLAINT FOR DAMAGES
 Case 2:23-cv-00057 Document 1 Filed 01/05/23 Page 11 of 11 Page ID #:11




1                           DEMAND FOR JURY TRIAL
2       Plaintiff hereby demands a trial by jury.
3
4 DATED: January 5, 2023
5
6                                     By               /s David E. Kenner
                                           David E. Kenner
7                                          Attorneys for Plaintiff

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                                            -11-                      Case No. 2:23-cv-57
                                                                COMPLAINT FOR DAMAGES
